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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0618 (ABJ)
                                     )
RILEY JUNE WILLIAMS,                 )
                                     )
                  Defendant.         )
____________________________________)


                                                ORDER

        On May 27, 2022, defendant Riley June Williams filed a motion to modify her conditions

of release. Def.’s Mot. to Amend Conditions of Release [Dkt. # 50] (“Def.’s Mot.”); Brief in Supp.

of Mot. to Amend Conditions of Release [Dkt. # 51-2] (“Def.’s Mem.”). She asks to be relieved

of the requirements of home detention and electronic location monitoring. Def.’s Mem. at 6. The

government has opposed the motion, Gov’t’s Opp. to Def.’s Mot. to Amend Conditions of Release

[Dkt. # 52] (“Opp.”), as has the United States Probation Office in the Middle District of

Pennsylvania, which is currently supervising defendant while she is on release. Mem. from

Michael R. Yasenchak, Senior U.S. Probation Officer (July 13, 2022) [Dkt. # 60] (“USPO

Report”); see also Pretrial Services Agency Status Report [Dkt. # 59] (“PSA Report”); Def.’s

Reply Br. [Dkt. # 53].

        The Bail Reform Act provides that if the judicial officer determines that the release of a

defendant on personal recognizance “will not reasonably assure the appearance of the person as

required or will endanger the safety of any other person or the community, such judicial officer

shall order the pretrial release of the person . . .
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               (B) subject to the least restrictive further condition, or combination of
               conditions, that such judicial officer determines will reasonably assure the
               appearance of the person as required and the safety of any other person and
               the community[.]”

18 U.S.C. § 3142(c)(1)(B). Courts must consider four factors when deciding whether there are

conditions of release that will reasonably assure the appearance of the person and the safety of any

other person and the community: (1) “the nature and the circumstances of the offense charged”;

(2) “the weight of the evidence against the person”; (3) “the history and characteristics of the

person,” and; (4) “the nature and seriousness of the danger to any person or the community that

would be posed by the person’s release.” 18 U.S.C. § 3142(g)(1)–(4). All of these factors were

fully considered at the time of the defendant’s arrest. While the Bail Reform Act permits a court

to amend or modify conditions of release, 18 U.S.C. § 3142(c)(3), “[a]s the D.C. Circuit has noted,

the mere passage of time, without a substantial change in the ‘underlying reasons for this court’s

prior decisions’ regarding pretrial [conditions] is generally not sufficient to warrant

reconsiderations.” United States v. Bikundi, 73 F. Supp. 3d 51, 55 (D.D.C. 2014), quoting United

States v. Ali, 534 Fed. Appx. 1, 2 (D.C. Cir. 2013) (per curiam). Here, the challenged conditions

were entirely appropriate under the circumstances presented at the time the defendant was released,

and the defendant does not point to any change in circumstances beyond an assertion that she has

been fully compliant, an assertion that both the government and Probation Office dispute.

       On January 17, 2021, the government initiated this case with the filing of a criminal

complaint, supported by a statement of facts. See Crim. Compl. [Dkt. # 1]; Statement of Facts

[Dkt. # 1-1]. The affiant, a Special Agent of the Federal Bureau of Investigation (“FBI”), detailed

information the FBI had received identifying the defendant as a participant in the January 6, 2021

attack on the Capitol, who was shown on video footage “directing crowds inside the U.S. Capitol


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building,” and who was alleged to have taken a laptop computer or hard drive from the office of

the Speaker of the House, Nancy Pelosi. Statement of Facts ¶¶ 9–10. The Statement of Facts also

included a description of a YouTube video in which a reporter interviewed someone who identified

herself as the defendant’s mother and stated that the defendant “‘took off,’ ‘is gone,’ and is waiting

for law enforcement to come to . . . ask her about her activities in the Capitol.” Id. ¶ 18. It appeared

to the Special Agent that the defendant had fled:

                According to local law enforcement officers in Harrisburg, WILLIAMS’
                mother stated that . . . WILLIAMS packed a bag and left her home and told
                her mother she would be gone for a couple of weeks. WILLIAMS did not
                provide her mother any information about her intended destination.
                Sometime after January 6, 2021, WILLIAMS changed her telephone
                number and deleted . . . her social media accounts on Facebook, Instagram,
                Twitter, Reddit, Telegram, and Parler.

Id. ¶ 19.

        The government filed a motion for a detention hearing on January 19, 2021, see Mot. for

Detention, United States v. Williams, No. 21-mj-7-MCC (M.D. Pa. Jan. 19, 2021) [Dkt. # 3], 1

because “a serious risk exists that defendant will flee,” and “a serious risk exists that defendant

will obstruct or attempt to obstruct justice or threaten injure or intimidate or attempt to threaten

injure or intimidate a prospective witness or juror.” Id. at 3. The government further submitted

that there was no condition or combination of conditions that would reasonably assure either

defendant’s appearance as required or the safety of any other person and the community because

she was “a danger to any other person or the community,” and “a flight risk.” Id. at 5.

        A detention hearing was held on January 21, 2021 before a Magistrate Judge in the Middle

District of Pennsylvania. See Tr. of Detention Hr’g, United States v. Williams, No. 21-mj-7-MCC




1       Citations to documents on other dockets will include the applicable case number.

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(M.D. Pa. Jan. 21, 2021) [Dkt. # 13]. At the hearing, the government withdrew its motion seeking

defendant’s pretrial detention. Id. at 15:12–18. The parties informed the court that they had agreed

that the defendant would be placed on home confinement with an ankle monitor. Id. at 7:6–20. In

addition, her mother agreed to serve as a third party custodian. Id. at 22:24–23:4.

       Defendant was ordered to be released following the hearing, subject to certain conditions.

Order Setting Conditions of Release, United States v. Williams, No. 21-mj-7-MCC (M.D. Pa.

Jan. 21, 2021) [Dkt. # 10] (“Conditions of Release Order I”). Among them, defendant was

required to submit to location monitoring and was “restricted to [her] residence at all times except

for employment 2; education; religious services; medical, substance abuse, or mental health

treatment; attorney visits; courts appearances; court-ordered obligations; or other activities

approved in advance by the pretrial services office or supervising officer.” Id. at 2.




2      Defendant’s conditions were partially modified on June 1, 2021 to permit defendant to
leave her home between 10:00 am and 2:00 pm on Thursdays and Fridays for the purpose of
finding employment. See Min. Order (June 1, 2021).

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       Four days later on January 25, 2021, defendant appeared before a Magistrate Judge in this

district. See Min. Entry (Jan. 25, 2021); see also Min. Entry (Jan. 26, 2021) (continuation of

proceeding). At that time, the government asked to revise defendant’s conditions of release

because it had concerns about her use of her computer and the internet in an effort to instruct others

to delete messages and destroy evidence. Tr. of Rule 5 – Initial Appearance Hr’g [Dkt. # 8] at

9:2–12, 19:1–8. Thereafter, another Order Setting Conditions of Release was issued, which

maintained the home detention and location monitoring, and added that the defendant must “[s]eek

access via third party custodian to use iPad/smart phone to video call with attorney, PSA to check-

in, and mental health appointments [and p]urchase flip phone within 5 days for all other calls.”

Order Setting Conditions of Release [Dkt. # 29] (“Conditions of Release Order II”) at 2

(condition (7)(s)). Further, it was ordered that defendant’s third party custodian would monitor all

of defendant’s calls, with the exception of those made to her attorney and for mental health

purposes, and defendant’s television use of the Smart TV at the home. Id.

       Defendant notes in her motion that she “has been on home detention since

January 21, 2021.” Def.’s Mot. ¶ 7. She requests that the Court remove the conditions of home

detention and electronic location monitoring “[i]n consideration of her good behavior and her

employment.” Def.’s Mem. at 1. She asserts that she “has been in full compliance with her

conditions of release for the previous sixteen (16) months.” Id. at 3.

       The fact that the defendant has been released under conditions for a significant period of

time does not demonstrate that the flight risk has been ameliorated or that there is some change of

circumstances in this case. Moreover, the supervising Probation Officer is not at all satisfied that

the defendant has been in full compliance or is a good candidate for a less restrictive plan. The

Probation and Pretrial Services offices report:

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              On August 16, 2021, defendant was untruthful with Pretrial Services about
               the identity of an individual who visited her (“Individual 1”), and also
               directed her third party custodian – her mother – to conceal the truth about
               him, Opp. at 7–8; PSA Report at 3; see USPO Report at 1;

              On August 17, 2021, defendant’s mother “falsely informed Williams’s
               then-supervising probation / pretrial services officer that Williams was not
               working much the following few weeks due to a cousin visiting from North
               Carolina,” Opp. at 7; see PSA Report at 3; USPO Report at 1;

              On September 9, 2021, Pretrial Services observed a tablet case and charging
               cord inside of defendant’s car, PSA Report at 3; Opp. at 7;

              On September 10, 2021, Individual 1 told the FBI that he communicated
               with defendant via video chat, in violation of defendant’s conditions of
               release, PSA Report at 3; Opp. at 8; see also USPO Report at 1; Conditions
               of Release Order II at 2 (condition (7)(s));

              Defendant has been tardy in submitting her weekly schedule to her Pretrial
               Services Officer on multiple occasions, see PSA Report at 3; USPO Report
               at 1; Opp. at 8.; and

              Defendant has been “late returning home after attending preapproved
               outings,” including on May 26, 2022. Opp. at 8–9; see PSA Report at 3.

The record reflects that the defendant initially tried to evade arrest by leaving her home, deleting

her social media accounts, and changing her phone number. See Statement of Facts ¶ 19. Given

the evidence adduced at the time of defendant’s release establishing not only a risk of flight, but

also a risk that the investigation would be obstructed, and given the supervising officer’s

assessment that “removal of the location monitoring condition would be premature and

unwarranted” because the defendant “has not demonstrated a willingness to consistently comport

to the release conditions,” USPO Report at 1, defendant’s motion will be DENIED. The Probation

Officer has observed that “[a]bsent location monitoring, the probation office would be reliant upon

her third party custodian as a guarantor of her compliance,” but “the third party custodian has not

demonstrated her reliability in this regard.” Id. Home detention – which enables the defendant to


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continue to be employed – and location monitoring are still the least restrictive conditions that will

ensure the defendant’s appearance and the integrity of the investigation. Therefore, defendant’s

conditions of release will remain the same.

       SO ORDERED.




                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: July 20, 2022




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